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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


 ELMER WILLIAMS,

       Plaintiff,

 v.                                            Case No. 3:22-cv-1221-MMH-MCR

 RICKY DIXON, et al.,

       Defendants.


               NOTICE OF VOLUNTARY DISMISSAL OF
          DEFENDANT GERALD KNAUS WITHOUT PREJUDICE

      Pursuant to Rule 41(a)(1)(A)(i), Plaintiff Elmer Williams voluntarily dismisses

this action against Defendant Gerald Knaus—who passed away during these

proceedings (see Suggestion of Death, Doc. 41)—without prejudice. See Walker v.

Home Point Fin. Corp., 571 F. Supp. 3d 1275 (M.D. Fla. 2021). Defendant Gerald

Knaus has not served any answer or motion for summary judgment in this action.

This notice does not pertain to the remaining defendants in this case.

Dated: March 2, 2023.

                                           Respectfully submitted,

                                           /s/ James V. Cook
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                                                   -and-

                                           /s/ James M. Slater
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                                           Attorneys for Plaintiff Elmer Williams


                                Certificate of Service

      I hereby certify that on March 2, 2023, I electronically filed the foregoing

document with the Clerk by using the CM/ECF system, which will serve a copy on

all counsel of record.


                                               /s/ James M. Slater
                                                     James M. Slater




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